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                       IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF OREGON

                                     PORTLAND DIVISION



 COMMITTEE TO RECALL DAN
 HOLLADAY et al.,                                                       No. 3:20-cv-01631-YY

                       Plaintiffs,
                                                                                 filDGMENT
        V.

 JAKOB WILEY,

                       Defendant,

        and

 STATE OF OREGON,

                       Intervenor.


MOSMAN,J.,

       Based on the Opinion and Order of the Court [ECF 59] adopting the Magistrate Judge's

Findings and Recommendation [ECF 52] and granting the State of Oregon's and Defendant's

respective Motions to Dismiss [ECF 21, 23] and denying Plaintiffs' Motion for Certification of a

Question to the Oregon Supreme Court [ECF 43], IT IS ORDERED AND ADfilDGED that this

action is DISMISSED with prejudice. Pending motions, if any, are DENIED AS MOOT.



       DATED this   _[l__~y of January, 2023.


                                                           ~
                                                           Senior United States District Judge

1 - filDGMENT
